Case 2:24-cr-00621-MWF   Document 135-1 Filed 04/18/25   Page 1 of 6 Page ID
                                   #:827




                         Exhibit 1
Case 2:24-cr-00621-MWF   Document 135-1 Filed 04/18/25   Page 2 of 6 Page ID
                                   #:828
Case 2:24-cr-00621-MWF   Document 135-1 Filed 04/18/25   Page 3 of 6 Page ID
                                   #:829




                         Exhibit 2
Case 2:24-cr-00621-MWF   Document 135-1 Filed 04/18/25   Page 4 of 6 Page ID
                                   #:830
Case 2:24-cr-00621-MWF   Document 135-1 Filed 04/18/25   Page 5 of 6 Page ID
                                   #:831
Case 2:24-cr-00621-MWF   Document 135-1 Filed 04/18/25   Page 6 of 6 Page ID
                                   #:832
